Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 1 of 15 PageID #:5

FILED
11/30/2018 2:35 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

COUNTY DEPARTMENT, LAW DIVISION Cee aging 7
2018L012920
OMOAYENA WILLIAMS, )
)
Plaintiff, )
)
v. ) 2018L012920
) No.
JON D. KOLLADA, individually and as agent )
and servant of TOPLINE TRUCK TRAILER & __)
AUTO SERVICE, LLC and TOPLINE TRUCK __ )
TRAILER & AUTO SERVICE, LLC, )
)
Defendants. )

COMPLAINT AT LAW

NOW COMES the Plaintiff, OMOAYENA WILLIAMS, by and through his attorneys,
COSTELLO, MCMAHON, BURKE & MURPHY, LTD., and complaining of the Defendants,
JON D. KOLLADA, individually and as agent and servant of TOPLINE TRUCK TRAILER &
AUTO SERVICE, LLC and TOPLINE TRUCK TRAILER & AUTO SERVICE, LLC, states as
follows:

1. That on or about December 22, 2016, I-94 ran in a generally northerly and southerly
direction in Chicago, Cook County, Illinois.

2. That on or about December 22, 2016, Defendant, TOPLINE TRUCK TRAILER &
AUTO SERVICE, LLC owned a certain motor vehicle which was being operated, managed and
controlled by Defendant, JON D. KOLLADA, individually and as agent and servant of
TOPLINE TRUCK TRAILER & AUTO SERVICE, LLC, in a northerly direction on I-94 near
79" Street in Chicago, Cook County, Illinois.

3. That at the aforesaid time and place, Plaintiff, OMOAYENA WILLIAMS, operated

a certain motor vehicle in a northerly direction on I-94 near 79" Street in Chicago, Cook County,

DEFENDANT’S
j EXHIBIT

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FILED DATE: 41/30/2018 2:35 PM 2018L012920

Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 2 of 15 PageID #:6

Illinois.

4, That at the aforesaid time and place, the Defendants, JON D. KOLLADA and

’ TOPLINE TRUCK TRAILER & AUTO SERVICE, LLC, owed the Plaintiff the duty of

exercising ordinary care in the operation of Defendants’ vehicle.

5. That notwithstanding said duty, the Defendant, JON D. KOLLADA, individually
and as agent and servant of TOPLINE TRUCK TRAILER & AUTO SERVICE, LLC, was then
and there guilty of one or more of the following negligent acts and/or omissions:

a. Operated, managed, maintained, and controlled a motor vehicle so that as a direct

and proximate result thereof the Plaintiff was injured;

b, Operated a motor vehicle without keeping a proper and sufficient lookout;

Cc. Failed to operate his vehicle in a single lane of traffic;

d, Failed to yield the right-of-way to Plaintiff;

e, Changed lanes when it was unsafe to do so,

6. That as a direct and proximate result of one or more of the foregoing negligent acts
and/or omissions of the Defendants, the vehicle operated by Defendant, JON D. KOLLADA,
collided with the vehicle operated by Plaintiff, OMOAYENA WILLIAMS.

7. That as a direct and proximate result of said collision, Plaintiff, OMOAYENA
WILLIAMS, sustained personal injury and disfigurement, has and will in the future sustain pain
and suffering, has and will be kept from attending her ordinary affairs and duties, has and will in
the future become obligated to pay sums of money for medical and hospital care and attention,
has lost and will in the future lose financial gains that she otherwise would have acquired and has

been diminished in her earning capacity.
FILED DATE: 11/30/2018 2:35 PM 2018L012920

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Wherefore, the Plaintiff, OMOAYENA WILLIAMS, asks for judgement against the
Defendants, JON D. KOLLADA and TOPLINE TRUCK TRAILER & AUTO SERVICE, LLC,
~and each of them, in a fair and reasonable sum in excess of FIFTY THOUSAND ($50,000)

DOLLARS and the costs of bringing this lawsuit.

Respectfully submitted,

COSTELLO, MCMAHON & BURKE, LTD.
Attorneys for Plaintiff

AE on

Andrew P. Allen

 

Atty. No.: 62049

Costello, McMahon, Burke & Murphy, Ltd.
Attorneys for Plaintiff

150 N. Wacker Dr., Suite 3050

Chicago, IL 60606

(312) 541-9700

service@costellaw.com
 

 

Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 4 of 15 PagelD #:8

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2220-Not Served 2221-Not Served FILED

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

OMOAYENA WILLIAMS, )
)
Plaintiff, ~ J
\
V. ) 2018L012920
. _ ) No.
JON D. KOLLADA, individually and as agent - ) : Pee
and servant of TOPLINE TRUCK TRAILER & ) ' Please serve: Mr. Jon D. Kollada -
AUTO SERVICE, LLC and TOPLINE TRUCK ) 3483 Snow Creek Road
TRAILER & AUTO SERVICE, LLC,- ) Bakersville, NC 28705
7
vane. _
SUMMONS - |

To Defendant:

YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your appearance
in the office of the clerk of this court (located in the Richard J. Daley Center, Room *801, Chicago, IL 60602)
within 30 Days after service of this summons, not counting the day of service. Please visit
www.cookcountyclerkofcourt.org to initiate this process. Kiosks with internet access are available at all Clerk's
Office locations. Please refer to the last page of this document for location information.
If you fail to do so, a judgment by default may be entered against you for the relief requested in the

complaint.

‘To-the Officer:
This Summons must be returned by the officer or other person to whom it was given for service, with
endorsement.of service and fées, if any, immediately after service. If service cannot be made, this Summons shall

be returned so endorsed. This Summons may aot be served later than thirty (30) days after its date.

 

E-filing is now mandatory for documents in 1 civil cases with limited exemptions. To e-tile, you must first create
an account with an e-filing service provider. Visit https://efile.illinoiscourts.gov/service-providers.htm to Iearn
more and to select a service provider. If you nced additional help or have trouble c-filing, visit

 
 
 
 

 

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11/30/2018 2:35 ls DOROTHY BROWN -
Clerk of Court

Atty. No. 62049 :

Atty Name: Andrew P, Allen, Esq.

Name: COSTELLO, MCMAHON, BURKE & MURPHY, LTD. °

Address: 150 N. Wacker Drive, Suite 3050 Date of Services... , 2018

City: Chicago. IL 60606 : (To be inserted by officer on copy left

Phone: (312) 541-9700 with Defendant or other person)

primary email: service@costellaw.com

  

_ DEFENDANT’S
DOROTHY aco CLERK OF THE CIRCUIT COURT OF COOK COUNTY, II » EXHIBIT
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Casé: 1:19-Cv-02388 Document #: 1-1 Filed: 04/09/19 Page 5 of 15 PagelD #:9

FILED
1/4/2019 9:37 AM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, LAW DIVISION COOK COUNTY, IL

OMOAYENA WILLIAMS,
Plaintiff,
Vv.

No. 2018 L 012920

JON D. KOLLADA, individually and as agent
and servant of TOPLINE TRUCK TRAILER &
AUTO SERVICE, LLC and TOPLINE TRUCK
TRAILER & AUTO SERVICE, LLC, .

Defendants.
OTICE OF FILING

TO: Clerk of the Circuit Court.
(No appearances have been filed.)

PLEASE TAKE NOTICE that we have filed with the Clerk of the Circuit Court of the
County papain Law Division, the attached Proof of Service of Defendant, Jon Kollada.

COSTELLO, MCMAHON, BURKE,
& MURPHY, LTD.

150 North Wacker Drive, Suite 3050
Chicago, IL 60606

(312) 541-9700.

Atty #: 26146

Suen :

 

 

 
FILED DATE: 1/4/2019 9:37 AM 20181012920

Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 6 of 15 PagelD #:10

 

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RETURN OF SERVICE
Teartify that this ¢ . WAS RECEIVED AND SERVED AS FOLLOWS:
|
a Date. Served;.....- -.. - ce ae -{Name of Supporting Party:

WQ-3-aal& | Jon BD Kalladiy
__/<" By dolivering to the supporting party named above a copy of this Order.

___._ By leaving a copy of this Order at the dwelling house or usual place of abode of the

su p porting party named above with a parton of suitable age and discretion then residing
therein.

 

Name and addreas of peraon with whom copies left:

. Jan D NK olla Le B44 Siete Creat. Rol

—__.. The supporting party WAS NOT served for the iollewing reason:

 

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|

Date of return: County:

&.
Mctede ll
Deputy Sheriff Making Return:

| AA phate 29

l= 13-15

Service Fee: —. paid due

 

 

 
 

 

 

  
  
    

aes Gomiciled in in North Carolina.
was domiciled in North Carolina, a local
with a summons and copy of plaintiff's
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Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 8 of 15 PagelID #:12

 

2120-Served 2121-Served
2220-Not Served 2221-Not Served
2320-Served By Mail 2321-Served By Mail
2420-Served By Publication 2421-Served By Publication
SUMMONS ALIAS SUMMONS
IN THE CIRCUIT COURT OF COOK COUNTY, ELLINOIS
COUNTY DEPARTMENT, LAW DIVISION FILED
Se en ten ne De eee . 2/13/2019 10:21.AM
OMOAYENA WILLIAMS, ) DOROTHY BROWN
) areal
Plaintiff, 20181012920 |
v. )
} No. 2018 L 012920
JON D, ROLLADA, individually and as agent )
and servant of TOPLINE TRUCK TRAILER & ) Please serve: Topline Tuck Trailer & Auto
AUTO SERVICE, LLC and TOPLINE TRUCK. ) c/o Ricky Dale McKinney, Jr,
TRAILER & AUTO SERVICE, LLC, ) 277 Camgroud Road
) Old Fort, NC 28762
Defendants. )
ALIAS SUMMONS
To Defendant:

YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your appearance
in the office of the clerk of this court (located in the Richard J. Daley Center, Room *801, Chicago, IL 60602)
within 30 Days after service of this summons, not counting the day of service. Please visit
www.cookcountyclerkofcourt.org to initiate this process. Kiosks with internet access are available at all Clerk’s
Office locations. Please refer to the last page of this document for location information,
H you fail to do so, a judgment by default may be entered against you for the relief requested in the
complaint.

To the Officer:

This Summons must be retumed by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. If service cannot be made, this Summons shall
be returned so endorsed, This Summons may not be served later than thirty (30) days after its date,

E-filing is now mandatory for documents in civil cases with limited exemptions, To e-file, you must first create
an account with an e-filing service provider. Visit https://efile illinoiscourts.gov/service-providers.htm to learn
more and to select a service provider. If you need additional help or have trouble e-filing, visit
hitp:/#www.illinoiscourts.gow/FAQ/gethelp.asp.

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Clerk of Court
Atty. No. 62049
Atty Name: Andrew P. Allen, Esq.
Name: COSTELLO, MCMAHON, BURKE & MURPHY, LTD. mera
Address: 150 N. Wacker Drive, Suite 3050 Date of Services... sseecsecs , 20) 9
City: Chicago, IL 60606 (To be inserted by officer on copy left
Phone: (312) 541-9700 with Defendant or other person)

primary email: service@costellaw.com

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY,

 
Case: 1: 19- -cv-02388 Document #: 1-1 Filed: 04/09/19 Page 9 of 15 Pagel? #:13

: | RETURN OF SERVICE et EE ee Pe
"| | certiy that ai this Sinimons and a copy o7 the complaint were received and served as follows:

DEFENDANT 1

Date Served Z ij\=3 Time Sai Of Dafsndant
~IPLT Clan Ben [NC KTM enn f-
A By delivering to the JZ named above a copy of the summons

 

 

 

 

 

 

me complaint.

LJ By lsaving a copy of summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
person o7 suitable age and discretion then tesiding therein.

(1) As the defendant is a corporation, sarvice was effected by delivering a copy of the summons and complaint to the parson named
below. = -

 

Name And Address Of Parson Witn Whom Copy Ln (i Corporation, Give The Of Person Copy Lett ith)

 

[J Other manner of service: (spsciay

 

() Defendant WAS NOT served for ths jollowing reason:

 

DEFENDANT 2
Dat2 Served Tima Served Name Of Dafandant

Dav [pm

(3 By delivering to the defendant named above a copy of the summons and complaint.

 

 

 

) By leving a copy of summons and complaint at the dwelling house or usual place of abode of the defendant namad above with a
person of sulieble aos and discretion than residing therein.

Lj As the defendant is @ corporation, service wes effected by delivering 2 copy of the summons and complaint to the parson named
balow.

Name And Adsrass Of Person With Wwaom Copy Lert (If Corporation, Give Title Of Parson Copy Leit With)

 

(1) Other manner of servics: (spaciyy),

 

[) Defendant WAS NOT served for the following reason:

Faye ee

  

FOR USE IN SUMMARY EJECTMENT CASES ONLY _ {ez

(] Service was ria He mailing by first class mail a copy of the summons and complaini io the defendant(s} and by
posiing a copy of the summons and complaint at the following premises.
Date Served

 

 

Nama(s) Of The Defendant(s) Served By Posiing

 

 

Address Of Premises Where Posted

 

 

 

 

Service Fee O7 Deputy Shen? Making Reium
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Daia Recsivad asap 2 Or Print!

‘|Date OF Retum™ woe

 

 

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Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 11 of 15 PagelD #:15

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
OMOAYENA WILLIAMS, )
)
Plaintiff, )
)

Vs. ) No.
)
JON D. KOLLADA, individually andas _)
agent and servant of TOPLINE TRUCK )
TRAILER & AUTO SERVICE, LLC and)
TOPLINE TRUCK TRAILER & AUTO _ )
SERVICE, LLC, )
)
Defendants. )

AFFIDAVIT OF RICKY McKINNEY

Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of
Civil Procedure, the undersigned certifies that the statements set forth in this instrument are true
and correct, except as to matters herein stated to be on information and belief and as to such
matters the undersigned certifies as aforesaid that he verily believes the same to be true.

1. I am a member and employee of Topline Truck Trailer & Auto Service, L.L.C.
(“Topline Truck”), which is named as a defendant in a Complaint at Law filed by plaintiff
Omoayena Williams. I have reviewed the subject Complaint at Law.

Dis Based upon my membership, experience and various duties with Topline Truck, I
am familiar with the corporate citizenship and organization of Topline Truck.

3. At all times from prior to December 22, 2016, to the present, Topline Truck has
been a North Carolina limited liability company. As of December 22, 2016, Topline Truck
maintained its headquarters and principal place of business at 8091 Highway 221 North, Marion,
North Carolina 28752. Subsequent thereto and through the present, Topline Truck has
maintained its headquarters and principal place of business at 277 Campground Road, Old Fort,
North Carolina 28762.

4. At all times relevant, I have been the sole LLC member of Topline Truck and I
have maintained my sole personal residence at 277 Campground Road, Old Fort, North Carolina
28762. I intend to reside and remain domiciled in North Carolina indefinitely. At this time and
going forward, I consider myself to be a resident of and domiciled in the State of North Carolina.

  
   
 

  

| DEFENDANT’S —
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Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 13 of 15 PageID #:17

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
OMOAYENA WILLIAMS, )
)
Plaintiff, )
)

VS. ) No.
)
JON D. KOLLADA, individually andas +)
agent and servant of TOPLINE TRUCK )
TRAILER & AUTO SERVICE, LLC and)
TOPLINE TRUCK TRAILER & AUTO _ )
SERVICE, LLC, )
)
Defendants. )

AFFIDAVIT OF MARK G. POULAKIDAS

Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of
Civil Procedure, the undersigned certifies that the statements set forth in this instrument are true
and correct, except as to matters herein stated to be on information and belief and as to such
matters the undersigned certifies as aforesaid that he verily believes the same to be true.

1. I am an attorney licensed to practice in the State of Illinois. I am lead counsel for
defendants in the above-captioned action.

ay I have reviewed an itemization of plaintiff Omoayena Williams’ claimed medical
bills totaling approximately $9,000.00 and a claim for lost wages that exceeds $29,000.

2, Based upon all damages information available to defendants, including the
damages allegations contained in plaintiff's Complaint at Law, I believe there is a reasonable
probability that the amount in controversy exceeds the sum or value of $75,000.00, exclusive of
interest and costs.

Further Affiant Sayeth Not. AN oo

Mark G. Poulakidas

 

- DEFENDANT’S |
y «EXHIBIT =

 
Case: 1:19-cv-02388 Document #: 1-1 Filed: 04/09/19 Page 14 of 15 PagelID #:18

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
OMOAYENA WILLIAMS, )
)
Plaintiff, )
)

VS. ) No.
)
JON D,. KOLLADA, individually and as )
agent and servant of TOPLINE TRUCK )
TRAILER & AUTO SERVICE, LLC and)
TOPLINE TRUCK TRAILER & AUTO _ )
SERVICE, LLC, )
)
Defendants. )

AFFIDAVIT OF COREY FERTEL

Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters herein stated to be on information and belief and as to such matters the
undersigned certifies as aforesaid that he verily believes the same to be true.

1. Iam a licensed private investigator in the State of Illinois and have been so licensed
since 1998. I am over the age of 18 years old and I am not a party to the above-captioned action.

2; As part of my daily job duties, I investigate and determine correct addresses of
individuals and corporate entities, serve process in civil lawsuits, and provide related Affidavits for
filing in Federal and state courts. Regarding the above-captioned action, I have investigated the
residence addresses of plaintiff Omoayena Williams.

3: Based upon my investigation, I believe Omoayena Williams’ current home address is
located within Cook County, Illinois. Further, I believe Omoayena Williams has resided at the same
home address continuously since before December 22, 2016 to the present. My investigation
included searches of public records and utility records.

4. I have also exhausted all resources for locating any alternative residential addresses
for Omoayena Williams. The following resources were exhausted: Aircraft ownership,
Bankruptcies, Judgments & Liens, Domain Registrations, Government Employee Loans or
Contracts, Merchant Vessels, National Property Ownership, Phone Directory, Pilot’s License, Inmate
Search, Social Security Death Index, Driver’s License Search, and Professional License Search.

     
   

| DEFENDANT'S |

 
   
 

 

Case: T'I9-CV-02388 Document #: T-1T Filed: 04/09/19 Page 15 of 15 PagelID #19

Further Affiant Sayeth Not.

CoreyFertel

 

GOMER REE

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